Case 2:14-cv-12107-RHC-PJK ECF No. 109 filed 10/20/20              PageID.3205      Page 1 of 2




                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
 ______________________________________________________________________

 KYISHA JONES,

         Plaintiff,

 v.                                                        Case No. 14-12107

 CHAD WOLF,

      Defendant.
 __________________________________/

                      ORDER GRANTING IN PART MOTION TO CORRECT

         Plaintiff Kyisha Jones brings this action for sex discrimination under Title VII of

 the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a)(1), against Defendant Chad Wolf in

 his official capacity as Secretary of the United States Department of Homeland Security.

 (ECF No. 15, PageID.241-42.)

         On August 26, 2020, the court issued a scheduling order that described

 procedural requirements and set a date of September 23, 2020, for the parties to file

 dispositive motions. (ECF No. 102.) On September 23, 2020, Defendant moved for

 summary judgment. (ECF No. 104.) According to Local Rules, Plaintiff had twenty-one

 days to file a response, E.D. Mich. L.R. 7.1(e)(1)(B), which expired on October 14,

 2020.

         On October 16, 2020, the court ordered Plaintiff to file a response by October 20,

 2020. (ECF No. 107, PageID.3189.) On October 19, Plaintiff filed a motion to correct the

 court’s October 16 order and extend the response deadline to October 28, 2020. (ECF

 No. 108.)
Case 2:14-cv-12107-RHC-PJK ECF No. 109 filed 10/20/20                           PageID.3206   Page 2 of 2




         Plaintiff asserts the court granted her five weeks to file a response at an August

 19 telephonic conference, and that it was memorialized on the record. (Id.,

 PageID.3192.) The court has no independent recollection of such an extension, and the

 last status conference was not conducted on the record. The court’s August 26

 scheduling order did not provide Plaintiff five weeks to file a response. (ECF No. 102.)

         The court will grant a modification of the deadline. Pursuant to the court’s

 authority under Federal Rule of Civil Procedure 6(b)(1), the deadline for Plaintiff to file a

 response is now October 26, 2020. Such an extension keeps the matter on track to be

 decided expeditiously. No further extensions of Plaintiff’s briefing will be granted. In

 accordance with local rules, Defendant will have two weeks to file a reply.

         To the extent Plaintiff also requires an extension of pages, that will also be

 permitted. The court advises Plaintiff to keep the length of her brief within reason, no

 greater than thirty-five pages excluding a statement of facts. (See ECF No. 102,

 PageID.2767-68.) Accordingly,

         IT IS ORDERED that Plaintiff’s “Motion to Correct” (ECF No. 108) is GRANTED

 IN PART. Plaintiff must file a response to Defendant’s Motion for Summary Judgment

 (ECF No. 104) by October 26, 2020.

                                                             s/Robert H. Cleland                      /
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE
 Dated: October 20, 2020

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, October 20, 2020, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner                           /
                                                              Case Manager and Deputy Clerk
                                                              (810) 292-6522
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